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                    EXHIBIT 10
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               Claims for Andry Clients for which Sutton Accessed the CAO Database at Least Once

                                                                                       1st Time   Last Time
                                                                       Date of 1st                                                                                     Last
                           Claimant                       Claim Form                    Sutton      Sutton      Last Notice                           Last Claim                     Accepted   Payment
Claimant ID   Claim ID                   Form Type                      Eligibility                                                Claim Status                      Claimant
                            Name                          Submitted                    Accessed    Accessed        Type                              Status Date                       Offer     Made
                                                                         Notice                                                                                       Status
                                                                                      CAO Dbase   CAO Dbase




                                                                                                              Post-
                                      Seafood
                                                                                                              Reconsideration      Payment                         Claimant Review
 100051739     19690     THONN, CASEY Compensation          6/24/12      11/1/12       12/17/12     5/2/13                                             2/28/13                        1/30/13   2/28/13
                                                                                                              Seafood              Received                        Steps
                                      Program
                                                                                                              Eligibility Notice




                                      Seafood
                                                                                                              Post Appeal          Payment                         Claimant Review
 100051739     19691     THONN, CASEY Compensation          6/24/12      11/6/12       12/17/12     5/2/13                                              5/7/13                                  4/29/13
                                                                                                              Eligibility Notice   Received                        Steps
                                      Program




                                        VoO Charter                                                                                Payment                         Claimant Review
 100051739     20741     THONN, CASEY                       6/24/12      7/18/12       12/17/12     5/2/13    Release                                  10/10/12                       7/18/12   10/10/12
                                        Payment                                                                                    Received                        Steps




                                                                                                                                   In Claims                       Claimant Review
 100051739     97550     THONN, CASEY Subsistence          10/26/12        NA          12/17/12     5/2/13                                             4/11/13
                                                                                                                                   Review                          Steps




                                                                                                                                   Notice Issued
                                                                                                              Follow-up
                                        Vessel Physical                                                                            After Follow-Up                 Claimant Review
 100051739     179170    THONN, CASEY                       4/5/13         NA          12/17/12     5/2/13    Incompleteness                           7/13/13
                                        Damage                                                                                     Review: Claim                   Steps
                                                                                                              Notice
                                                                                                                                   Incomplete




                                                                                                                                                                   Notice Issued
                                                                                                                                                                   After
                         TALEN'S                                                                              Follow-up            In Claims
                                        Business                                                                                                                   EIN/SSN/ITIN
 100005991     86905     MARINE &                           10/4/12        NA           2/6/13      6/7/13    Incompleteness       Review after        7/12/13
                                        Economic Loss                                                                                                              Review:
                         FUEL, LLC                                                                            Notice               Notice Issued
                                                                                                                                                                   Taxpayer ID
                                                                                                                                                                   Confirmed

                                                                                                                                                                   Notice Issued
                                                                                                                                                                   After
                         TALEN'S                                                                              Follow-up            In Claims
                                        Business                                                                                                                   EIN/SSN/ITIN
 100005991     86921     MARINE &                           10/4/12        NA           2/6/13      6/7/13    Incompleteness       Review after        7/12/13
                                        Economic Loss                                                                                                              Review:
                         FUEL, LLC                                                                            Notice               Notice Issued
                                                                                                                                                                   Taxpayer ID
                                                                                                                                                                   Confirmed

                                                                                                                                                                   Notice Issued
                                                                                                                                                                   After
                         TALEN'S                                                                              Follow-up            In Claims
                                        Business                                                                                                                   EIN/SSN/ITIN
 100005991     86931     MARINE &                           10/4/12        NA           2/6/13      6/7/13    Incompleteness       Review after        7/12/13
                                        Economic Loss                                                                                                              Review:
                         FUEL, LLC                                                                            Notice               Notice Issued
                                                                                                                                                                   Taxpayer ID
                                                                                                                                                                   Confirmed

                                                                                                                                                                   Notice Issued
                                                                                                                                                                   After
                         TALEN'S                                                                              Follow-up            In Claims
                                        Business                                                                                                                   EIN/SSN/ITIN
 100005991     86932     MARINE &                           10/4/12        NA           2/6/13      6/7/13    Incompleteness       Review after        7/12/13
                                        Economic Loss                                                                                                              Review:
                         FUEL, LLC                                                                            Notice               Notice Issued
                                                                                                                                                                   Taxpayer ID
                                                                                                                                                                   Confirmed




                                                                                                                                                                                                           1 of 2
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               Claims for Andry Clients for which Sutton Accessed the CAO Database at Least Once

                                                                                      1st Time   Last Time
                                                                      Date of 1st                                                                                       Last
                           Claimant                      Claim Form                    Sutton      Sutton      Last Notice                             Last Claim                     Accepted   Payment
Claimant ID   Claim ID                  Form Type                      Eligibility                                                Claim Status                        Claimant
                            Name                         Submitted                    Accessed    Accessed        Type                                Status Date                       Offer     Made
                                                                        Notice                                                                                         Status
                                                                                     CAO Dbase   CAO Dbase



                                                                                                                                                                    Notice Issued
                                                                                                                                                                    After
                         TALEN'S                                                                             Follow-up            In Claims
                                       Business                                                                                                                     EIN/SSN/ITIN
 100005991     86969     MARINE &                          10/4/12        NA           2/6/13      6/7/13    Incompleteness       Review after          7/12/13
                                       Economic Loss                                                                                                                Review:
                         FUEL, LLC                                                                           Notice               Notice Issued
                                                                                                                                                                    Taxpayer ID
                                                                                                                                                                    Confirmed

                                                                                                                                                                    Notice Issued
                                                                                                                             Notice Issued                          After
                         TALEN'S
                                       Business                                                              Notice of       After Claimant                         EIN/SSN/ITIN
 100005991     120685    MARINE &                         12/21/12        NA           2/6/13      6/7/13                                               3/27/13
                                       Economic Loss                                                         Withdrawn Claim Request: Claim                         Review:
                         FUEL, LLC
                                                                                                                             Withdrawn                              Taxpayer ID
                                                                                                                                                                    Confirmed

                                                                                                                                                                    Notice Issued
                                                                                                                             Notice Issued                          After
                         TALEN'S
                                       Business                                                              Notice of       After Claimant                         EIN/SSN/ITIN
 100005991     120700    MARINE &                         12/21/12        NA           2/6/13      6/7/13                                               3/27/13
                                       Economic Loss                                                         Withdrawn Claim Request: Claim                         Review:
                         FUEL, LLC
                                                                                                                             Withdrawn                              Taxpayer ID
                                                                                                                                                                    Confirmed

                                                                                                                                                                    Notice Issued
                                                                                                                                                                    After
                         TALEN'S       Start-Up
                                                                                                                                  In Claims                         EIN/SSN/ITIN
 100005991     168893    MARINE &      Business            3/15/13        NA           2/6/13      6/7/13                                               7/12/13
                                                                                                                                  Review                            Review:
                         FUEL, LLC     Economic Loss
                                                                                                                                                                    Taxpayer ID
                                                                                                                                                                    Confirmed

                                                                                                                                                                    Notice Issued
                                                                                                                                                                    After
                         TALEN'S       Start-Up
                                                                                                                                  In Claims                         EIN/SSN/ITIN
 100005991     169918    MARINE &      Business            3/15/13        NA           2/6/13      6/7/13                                               7/12/13
                                                                                                                                  Review                            Review:
                         FUEL, LLC     Economic Loss
                                                                                                                                                                    Taxpayer ID
                                                                                                                                                                    Confirmed




                                                                                                                                  Notice Issued
                                                                                                                                  After Appeal:                     Notice Issued
                                                                                                                                  Payable Claim                     After Payment
                         MOTIVATION,   Business                                                              Post Appeal
 100124796     83325                                       9/26/12      2/15/13       3/15/13     3/15/13                         or Claim Eligible     6/11/13     Review: Claim      2/19/13
                         INC.          Economic Loss                                                         Eligibility Notice
                                                                                                                                  But No Payment                    Documents
                                                                                                                                  Due                               Incomplete
                                                                                                                                  Determination




                         VISHNU                                                                                                   In Claims
                                       Failed Business                                                       Incompleteness                                         Claimant Review
 100046405     158067    ENTERPRISE,                       2/22/13        NA          3/15/13     3/15/13                         Review after          7/12/13
                                       Economic Loss                                                         Notice                                                 Steps
                         INC.                                                                                                     Notice Issued




                                                                                                                                                                                                           2 of 2
